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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

 UNITED STATES OF AMERICA,                               §
                                                         §
                        Plaintiff,                       §
                                                         §
 VS.                                                     §       2:17-CR-015-D(1)
                                                         §
 RONALD LEE MILLER,                                      §
                                                         §
                        Defendant.                       §

                                     MEMORANDUM OPINION
                                         AND ORDER

        This memorandum opinion and order, originally entered on December 19, 2018, is reentered

 in accordance with the April 12, 2019 opinion of the United States Court of Appeals for the Fifth

 Circuit. See United States v. Miller, No. 18-10532 (5th Cir. Apr. 12, 2019) (per curiam).

        Defendant Ronald Lee Miller (“Miller”) has submitted a pro se December 6, 2018 letter to

 the court, which the clerk of court docketed on December 17, 2018, requesting that the court enter

 an order modifying information contained in his Presentence Investigation Report (“PSR”). Miller,

 who was sentenced in February 2018, contends that ¶ 35 of the PSR contains incorrect information

 about a prior conviction and that this error is affecting determinations made by the Bureau of Prisons

 (“BOP”) regarding his classification and eligibility for certain rehabilitation programs. Treating the

 letter as a motion, the court grants it as set forth in this memorandum opinion and order.

                                                   I

        The authority of a sentencing judge to alter documents of record after sentencing is limited.

 Under Fed. R. Crim. P. 32 and 36, a judge may only correct clerical errors in documents of record

 and cannot bypass the administrative remedies of the BOP by granting substantive changes to

 documents of record to provide relief to inmates challenging classification decisions of the BOP.
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 See United States v. Engs, 884 F.2d 894, 896 (5th Cir. 1989) (holding that district judges cannot

 amend PSRs for substantive challenges that could have been made during the objection period

 allowed during the sentencing phase); cf. United States v. McKay, 757 F.3d 195, 199 (5th Cir. 2014)

 (holding that district judges should correct clerical errors in the PSR that affect BOP determinations,

 and concluding that “[a]s long as the intentions of the parties are clearly defined and all the court

 need do is employ the judicial eraser to obliterate a mechanical or mathematical mistake, the

 modification will be allowed.”).

                                                   II

        After reviewing the information contained in ¶ 35 of the PSR, the court recognizes that

 Miller only received a misdemeanor conviction for a single count of the original four offenses

 charged. Having confirmed this information with the U.S. Probation Office, the court concludes that

 this paragraph contains a clerical, not substantive, error and should be modified in accordance with

 Rule 36.

        Accordingly, the court orders the U.S. Probation Office to modify ¶ 35 of the PSR to reflect

 a conviction solely for “Carrying a Loaded Firearm: Public Place.” The sentence received for the

 offense in this paragraph remains unchanged. This charge is “Count 3” of the charging instrument.

 The remaining counts 1, 2, and 4 shall be removed from the PSR.

        The court further orders that the amended pages of the PSR be transmitted to the BOP and

 counsel for the government. The BOP shall make the amended pages available to Miller in

 accordance with the standard procedures for allowing inmates access to their PSRs while in custody.




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        This memorandum opinion and order shall be transmitted to the BOP, counsel for the

 government, and Miller.

        SO ORDERED.

        May 9, 2019.



                                          _________________________________
                                          SIDNEY A. FITZWATER
                                          SENIOR JUDGE




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